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KPO /2019R00588
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA : Hon.
og ELE Fg . h >)
v. Crim. No. 21- j Al L LIM |

JASON KSEPKA
16 U.S.C. §§ 3372(d)(2)
and 3373(d)(3)(A)(i)

INFORMATION
(Violation of the Lacey Act)
The defendant having waived in open court prosecution by indictment,
the Acting United States Attorney for the District of New Jersey charges:
Background
1, At all times relevant to this Information:
a. Defendant JASON KSEPKA (“defendant KSEPKA’) was a
resident of Farmingdale, New Jersey.
b. Rhinoceros iguanas were listed on Appendix I of the
Convention on International Trade in Endangered Species of Wild Fauna and
Flora,
The Lacey Act
C. The Lacey Act made it a crime to knowingly make or submit
a false record, account, or label for, or any false identification of, any wildlife

which was intended to be transported in foreign commerce. See 16 U.S.C. 88

3372(d)(2) and 3373(d)(3)(A)().
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False Shipping Label

d. On or about November 7, 2017, defendant KSEPKA
placed in shipment, from Lambertville, New Jersey, to Hong Kong, a package
containing ten live rhinoceros iguanas via U.S. Priority Mail Express.
Defendant KSEPKA falsely described the contents of the package as “Toys” and
the sender as “Luke Jacobs” on a US. Postal Service International Shipping
Label and Customs Form that was affixed to the package.

e. On or about November 8, 2017, U.S. Fish and Wildlife
Service Inspectors intercepted the package at the mail facility at John F.
Kennedy International Airport and recovered ten live rhinoceros iguanas from
inside the package.

2. On or about November 7, 2017, in Hunterdon County, in the
District of New Jersey, and elsewhere, defendant
JASON KSEPKA
knowingly made and submitted a false record and label, namely a U.S. Postal
Service International Shipping Label and Customs Form, for ten rhinoceros
iguanas which were intended to be transported in foreign commerce.
In violation of Title 16, United States Code, Sections 3372(d)(2) and

3373(d)(3)(A) (i).
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FORFEITURE ALLEGATION

1. As a result of committing the Lacey Act offense alleged in the
Information, defendant KSEPKA shall forfeit to the United States, pursuant to
16 U.S.C. § 3374 and 28 U.S.C. § 2461(c), any and all wildlife imported,
exported, transported, sold, received, acquired, or purchased contrary to the
provisions of 16 U.S.C. § 3372, and the regulations issued pursuant thereto,
namely, ten rhinoceros iguanas.

SUBSTITUTE ASSETS PROVISION
2, If by any act or omission of the defendant any of the property

subject to forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third
party;

on has been placed beyond the jurisdiction of the court,

d. has been substantially diminished in value; or

€. has been commingled with other property which cannot be

divided without difficulty,
it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as
incorporated by 28 U.S.C. § 2461(c), to seek forfeiture of any other property of

such defendant up to the value of the above-described forfeitable property.

ZALEN

RACHAEL A. HONIG
ACTING UNITED ST ATTORNEY
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U.S. Department of Justice
United States Attorney

 

 

District of New Jersey
970 Broad Street, 7" floor 973-645-2700
Newark, New Jersey 07102 Fax: 973-645-2702

August 19, 2021

William T. Walsh, Clerk

U.S. District Court

Martin Luther King, Jr. Building
50 Walnut Street

Newark, NJ 07102

Re: Request for Case Assignment
Dear Mr. Walsh:

Please accept this letter as a request that the matter of United
States v. Jason Ksepka be assigned to a district judge.

A copy of the proposed Information and a cover sheet are enclosed.
Thank you.
Very truly yours,

RACHAEL A. HONIG
Acting United States Attorney

/s/ Kathleen P. O’Leary
By: Kathleen P. O’Leary
Assistant U.S. Attorney

Enc.
cc: Linda Foster, AFPD
